UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
                                                       :
UNITED STATES OF AMERICA
                                                       :   MOTION TO DISMISS
       -against-
                                                           24 Cr. 291 (LAK)
                                                      :
MATTHEW QUEEN,

                                                      :
                               Defendant
-------------------------------------------------------x

       PLEASE TAKE NOTICE, that upon the annexed declaration of SAM A.

SCHMIDT ESQ., dated the 29th day of August, 2024, the accompanying

memorandum of law, declaration and the information and indictment filed herein,

and all other proceedings had herein, the undersigned will move this Court on a

date and time convenient to the Court, located at the United States Courthouse,

500 Pearl Street, New York, New York, for an Order

               1. Dismissing the Information and Indictment, and

               2. For such other and further relief as to this Court may seem just and

proper.


Dated:         New York, New York
               August 29, 2024



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Respectfully submitted,

 /s/

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